              Case 1:24-cv-00941-JKB               Document 216                       Filed 09/24/24                 Page 1 of 2



                                    IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF MARYLAND

In the Matter of the Petition of
Grace Ocean Private Limited, as Owner of                            *
the M/V Dali, and Synergy Marine PTE
LTD, as Manager of the M/V Dali, for                                *
Exoneration from or Limitation of Liability                                              Case No.
                                                                    *

                                                                    *

                                    DISCLOSURE OF CORPORATE INTEREST


 Check all that apply:

        I certify, as party/counsel in this case that
                                                                                                   (name of party)

 is not an affiliate or parent of any corporation, and no corporation, unincorporated association,
 partnership or other business entity, not a party to the case, has a financial interest in the outcome
 of this litigation as defined in Local Rule 103.3 (D. Md.).




        The following corporate affiliations exist with                                                                            :
                                                                                                      (name of party)



                                                                                                                                   .
                                                       (names of affiliates)




     The following corporations, unincorporated associations, partnerships or other business
 entities which are not parties may have a financial interest in the outcome of this litigation:

                                                                                                                                   .
                                           (names of entities with possible financial interests)




 DisclosureCorpInterest (03/2015)
        Case 1:24-cv-00941-JKB          Document 216         Filed 09/24/24             Page 2 of 2
Disclosure of Corporate Interest




    In a case based on diversity jurisdiction, the following is a list of all members of

________________________________ and their states of citizenship:
           (name of LLC party)



___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)


___________________________________                    ____________________________________
           (name of member)                                             (state of citizenship)




Note: If there are additional LLC members, please provide their names and states of citizenship
on a separate sheet of paper.




Date                                                   Signature


                                                       Printed name and bar number


                                                       Address


                                                       Email address


                                                       Telephone number


                                                       Fax number




                                                  2
